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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN

Jacqueline Delgado,

               Plaintiff(s),
                                                             Civil No. 21-cv-11401
v.                                                           HON. BERNARD A. FRIEDMAN

Emortgage Funding, LLC,

               Defendant(s).
                                      /

                        NOTICE OF VIDEO SETTLEMENT CONFERENCE

         You are hereby notified to appear before the Honorable Bernard A. Friedman, United States
District Court Judge, for the above proceeding on:

                            Tuesday, December 21, 2021 at 1:00 p.m.
       **Video conference access information will be provided to all participants in advance
                                 of the settlement conference.**

        SETTLEMENT CONFERENCE WITH CLIENT(S)/CLIENT REPRESENTATIVE(S) WITH
FULL SETTLEMENT AUTHORITY are required to attend this conference. Each party is to submit a
Aconfidential@ three-page summary of the case to Judge Friedman by December 16, 2021
(via e-mail to: Rachel_DavidsonRaycraft@mied.uscourts.gov and Johnetta_Curry@mied.uscourts.gov).
This summary should not be filed on the docket.

      If you have any questions concerning this conference, please contact Case Manager Johnetta
Curry-Williams on 313-234-5172.

       Should counsel resolve this case prior to the conference, the Court will expect the parties to
inform the Court prior to the date and time set for conference.


                                             s/Johnetta M. Curry-Williams
                                             Case Manager in the Chambers of the
                                             Honorable Bernard A. Friedman
                                             313-234-5172
                                             Johnetta_curry@mied.uscourts.gov

Dated: December 6, 2021
Detroit, Michigan
